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     Counsel for the Official Committee of
 7   Unsecured Creditors of Verity Health System of
     California, Inc., et al.
 8
                                     UNITED STATES DISTRICT COURT
 9                                  CENTRAL DISTRICT OF CALIFORNIA
                                    WESTERN DIVISION – LOS ANGELES
10

11   In re:                                                        District Court Case Number:

12   VERITY HEALTH SYSTEM OF CALIFORNIA,                                 2:19-cv-00133-DMG
     INC., et al., 1                                               Bankruptcy Court Lead Case Number:
13
                      Debtors and Debtors In Possession.                 2:18-bk-20151-ER
14

15                                                                 Adversary Case Number: N/A
     Xavier Becerra
16   Attorney General of California,                               NOTICE OF CHANGE OF FIRM NAME
17                            Appellant,
18
              v.
19
     County of Santa Clara, Verity Health System of
20   California, Inc., et al., and Official Committee of
     Unsecured Creditors of Verity Health System of
21   California, Inc., et al.
22
                              Appellees.
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       The other Debtors in the chapter 11 cases, being jointly administered under Lead Case No. 2:18-bk-20151-ER, are
25   O’Connor Hospital 2:18-bk-20168-ER, Saint Louise Regional Hospital 2:18-bk-20162-ER, St. Francis Medical Center
     2:18-cv-20165-ER, St. Vincent Medical Center 2:18-bk-20164-ER, Seton Medical Center 2:18-cv-20167-ER,
26   O’Connor Hospital Foundation 2:18-bk-20179-ER, Saint Louise Regional Hospital Foundation 2:18-cv-20172-ER, St.
     Francis Medical Center of Lynwood Foundation 2:18-cv-20178-ER, St. Vincent Foundation 2:18-cv-20180-ER, St.
27   Vincent Dialysis Center, Inc. 2:18-cv-20171- ER Seton Medical Center Foundation 12:8-cv-20175-ER, Verity
     Business Services 2:18-cv-20173-ER, Verity Medical Foundation 2:18-cv-20169-ER, Verity Holdings, LLC 2:18-cv-
28   20163-ER, DePaul Ventures, LLC 2:18-cv-20176-ER, and DePaul Ventures - San Jose Dialysis, LLC 2:18-cv-20181-
     ER.
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 1                 PLEASE TAKE NOTICE that effective February 19, 2019, the law firm Milbank,

 2   Tweed, Hadley & McCloy LLP has changed its name to Milbank LLP. The office address and all of

 3   the email addresses, telephone numbers, and facsimile numbers affiliated with the Los Angeles

 4   office of Milbank LLP will remain the same.

 5

 6    DATED: February 20, 2019                     MILBANK LLP
 7                                                   /s/ James C. Behrens___
                                                   GREGORY A. BRAY
 8                                                 MARK SHINDERMAN
                                                   JAMES C. BEHRENS
 9
                                                   Counsel for the Official Committee of
10                                                 Unsecured Creditors of Verity Health System of
                                                   California, Inc., et al.
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